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Income Statement - 12 Month
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UrbanOne Properties
Properties: 1717 Norfolk - 1717 Norfolk Houston, TX 77098
Fund Type: All
Period Range: Jul 2021 to Jun 2022
Accounting Basis: Modified Accrual
Level of Detail: Detail View
Include Zero Balance GL Accounts: No

Account Name                                                Jul 2021               Aug 2021               Sep 2021               Oct 2021               Nov 2021               Dec 2021              Jan 2022               Feb 2022               Mar 2022               Apr 2022               May 2022               Jun 2022               Total
Operating Income & Expense
  Income
     INCOME
       RENTAL INCOME
          Rental Income                                                15,905.00              15,251.77              10,525.00              10,525.00              16,682.21              9,124.50              18,045.00              16,695.00              16,540.00               9,983.94              10,989.52              10,684.00           160,950.94
          Gross Potential Rent                                              0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Rent Concession                                                   0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                  -8.94                   0.00                -349.77              -358.71
       Total RENTAL INCOME                                             15,905.00              15,251.77              10,525.00              10,525.00              16,682.21              9,124.50              18,045.00              16,695.00              16,540.00               9,975.00              10,989.52              10,334.23           160,592.23
       EXPENSE REIMBURSEMENT
          Passthru Insurance                                               0.00                   0.00                   0.00                   0.00                   0.00                 19.00                  76.00                  38.00                  38.00                  19.00                  19.00                   9.50                218.50
          Passthru Water and Sewer                                       420.00                 403.06                 280.00                 280.00                 280.00                280.00                 280.00                 245.00                 245.00                 175.00                 274.19                 260.00              3,422.25
          Passthru Trash                                                 180.00                 172.74                 120.00                 120.00                 120.00                120.00                 120.00                 105.00                 105.00                  75.00                 136.46                 145.00              1,519.20
       Total EXPENSE REIMBURSEMENT                                       600.00                 575.80                 400.00                 400.00                 400.00                419.00                 476.00                 388.00                 388.00                 269.00                 429.65                 449.50              5,159.95
       OTHER INCOME
          Move Out Charges                                                  0.00                   0.00                   0.00                   0.00                 175.00                150.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00               325.00
          Admin Fees                                                        8.00                   7.52                   4.00                   4.00                   4.00                  4.00                   4.00                   4.00                   4.00                   3.00                   6.10                   7.00                59.62
       Total OTHER INCOME                                                   8.00                   7.52                   4.00                   4.00                 179.00                154.00                   4.00                   4.00                   4.00                   3.00                   6.10                   7.00               384.62
     Total INCOME                                                      16,513.00              15,835.09              10,929.00              10,929.00              17,261.21              9,697.50              18,525.00              17,087.00              16,932.00              10,247.00              11,425.27              10,790.73           166,136.80
     Application Fee Income                                                 0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                  90.00                 155.00                 255.00                 110.00                90.00
  Total Operating Income                                               16,513.00              15,835.09              10,929.00              10,929.00              17,261.21              9,697.50              18,525.00              17,087.00              17,022.00              10,402.00              11,680.27              10,900.73           166,226.80
  Expense
     EXPENSES
       Repairs & Maintenance
          Pest Control                                                     0.00                   0.00                   0.00                   0.00                   0.00                201.55                   0.00                   0.00                   0.00                   0.00                   0.00                  501.61               703.16
          Landscaping                                                     45.00                 180.00                 195.00                 173.33                 173.33                200.00                 220.00                 203.20                 200.00                 201.55                   0.00                  874.50             2,665.91
          Flooring and Tile Repair                                         0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                 551.42                    0.00               551.42
          W/O Repair & Supplies                                            0.00                  65.46                   0.00                   0.00                  74.10                129.68                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00               269.24
          Building Repair                                                  0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                 172.99                   0.00                   0.00                   0.00                    0.00               172.99
          Windows                                                          0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                 0.00
          Make Ready                                                       0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                 330.00                   60.00               390.00
       Total Repairs & Maintenance                                        45.00                 245.46                 195.00                 173.33                 247.43                531.23                 220.00                 376.19                 200.00                 201.55                 881.42                1,436.11             4,752.72
       Operating Expenses
          Electricity                                                    105.00                    0.00                 125.00                117.00                   95.70                 93.61                 94.25                  93.70                  91.97                 254.31                  772.08                  0.00              1,842.62
          Gas                                                            124.10                  118.59                 124.04                131.10                   89.24               -151.57                105.51                 123.29                 124.23                 146.51                  134.93                 45.35              1,115.32
          Water                                                          115.00                  572.48                 436.29                114.58                1,394.05                634.91                129.55                 155.14                 156.42                 150.39                    0.00                  0.00              3,858.81
          W/D Rental                                                       0.00                    0.00                   0.00                  0.00                    0.00                  0.00                  0.00                   0.00                   0.00                   0.00                    0.00                  0.00                  0.00
          Trash Disposal                                                 265.00                  390.09                 428.25                245.70                  251.30                251.00                260.00                 260.00                 257.00                   0.00                  510.86                  0.00              3,119.20
          Professional Fees                                                0.00                    0.00                   0.00                  0.00                    0.00                  0.00                  0.00                   0.00                   0.00                   0.00                    0.00                  0.00                  0.00
       Total Operating Expenses                                          609.10                1,081.16               1,113.58                608.38                1,830.29                827.95                589.31                 632.13                 629.62                 551.21                1,417.87                 45.35              9,935.95
       General and Administrative Expenses
          Maintenance Fees                                                440.00                 440.00                 440.00                 440.00                 440.00                440.00                 440.00                 440.00                 440.00                 440.00                 220.00                 220.00             4,840.00
          Management Fees                                                 795.25                 762.59               3,101.50               3,101.50                 526.25              1,522.86                 526.25                   0.00                 458.75                   0.00                   0.00                   0.00            10,794.95
          Payroll                                                         460.00                 460.00                 460.00                 460.00                 460.00                460.00                 460.00                 460.00                 460.00                 460.00                 230.00                 230.00             5,060.00
          Commission                                                        0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Referral Fees                                                     0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Leasing Software                                                  0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Legal and Accounting                                              0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Insurance                                                     1,125.00               2,316.01               1,043.30                   0.00               1,125.00                  0.00               1,125.00               1,125.00               1,125.00               1,125.00               1,125.00                   0.00            11,234.31
                                   Property Taxes                       4,869.00               4,869.00               4,869.00               4,869.00               4,869.00              4,869.00               4,869.00               4,869.00               4,869.00               4,869.00               1,542.51                   0.00            50,232.51
          Bank Charges Expense                                              0.00                   0.00                   0.00                   0.00                   0.00                  0.00                   0.00                  35.00                   0.00                   0.00                   0.00                   0.00                35.00
          Bank Service Charges                                              0.00                   0.00                   0.00                   0.00                   0.00                 35.00                   0.00                   0.00                  35.00                  35.00                   0.00                   0.00               105.00
       Total General and Administrative Expenses                        7,689.25               8,847.60               9,913.80               8,870.50               7,420.25              7,326.86               7,420.25               6,929.00               7,387.75                  35.00               3,492.51                   0.00            82,301.77
  Total Operating Expense                                               8,343.35              10,174.22              11,222.38               9,652.21               9,497.97              8,686.04               8,229.56               7,937.32               8,217.37                 787.76               5,791.80               1,481.46            96,990.44

  NOI - Net Operating Income                                            8,169.65               5,660.87                -293.38               1,276.79               7,763.24              1,011.46              10,295.44               9,149.68               8,804.63               9,614.24               5,888.47               9,419.27            69,236.36




                                                                                                                                                                                                                                                                                                                                   Exhibit 10
